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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            )
                                    )
                                    )
v.                                  )     Case No. 21-cr-00303-ZMF
                                    )
DEBORAH LYNN LEE.,                  )
                                    )
                   Defendant        )
                                    )




     DEFENDANT DEBORAH LEE’S MOTION TO MODIFY CONDITIONS OF
                            RELEASE



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            NOW COMES, Defendant Deborah Lee, by and through her

undersigned counsel or record, William L. Shipley, requesting this Court

modify the conditions of release imposed by this Court so as to allow for travel

to the District of Columbia to attend President-Elect Donald Trump’s

Inauguration.

      On August 1, 2021, Defendant Lee was charged with violations of 18

U.S.C. Sec. 1512(c)(2), 18 U.S.C. Sec 1752 (a)(1), 18 U.S.C. Sec 1752 (a)(2), 18

U.S.C. Sec 5104 (e)(2)(D), and 18 U.S.C. Sec 5104 (e)(2)(G) by a criminal

complaint. Defendant Lee was later indicted on the same violations; however,

after the United States Supreme Court ruling in Fischer v. United States, the

Government moved to dismiss the 18 U.S.C. Sec. 1512(c)(2) violation and

leaving no felony charges.

      On August 16, 2021, Magistrate Judge Meriweather set Defendant Lee’s

terms and conditions of pretrial release which included a restriction of

Defendant Lee to refrain from entering the District of Columbia unless it was

related to court or personal business matters. See ECF No.13 Pg. 2 at ln f.

      On October 11, 2024, this Court found Defendant Lee guilty after a

bench trial of the four remaining misdemeanor charges and allowed Defendant

Lee to remain on the same previously ordered conditions of release

      To date, Defendant Lee has been in compliance with all terms and

conditions of release set by this Court.

      Defendant Lee requests to be allowed to travel to the District of Columbia

from January 19, 2025, to January 20, 2025, to be in attendance of President-

Elect Donald Trump’s Inauguration.
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      Undersigned has conferred with Government Counsel who oppose such

modification.


Dated: January 10, 2025                        Respectfully Submitted,




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